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                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF IOWA
DENNIS DONNELLY, on behalf of himself
and all others similarly situated
                                                      Case No. 4:25-cv-00150-RGE-WPK
                                           ,
                 Plaintiff(s),
                                                               MOTION FOR ADMISSION
v. MOINES REGISTER AND TRIBUNE
DES                                                                PRO HAC VICE
CO., INC.; J. ANN SELZER; SELZER &
COMPANY; and GANNETT CO., INC.     ,
                Defendant(s).


   A. Applicant’s Information and Certification

         Pursuant to Southern District of Iowa Local Rule 83(d)(3) and (4),
I, Conor T. Fitzpatrick                         , respectfully moves to appear pro hac vice for the purpose
of appearing as counsel on behalf of, Defendants J. Ann Selzer and Selzer & Company             , in the above
case. In support of this motion, the undersigned states:
         1. I am admitted to practice and in good standing in the following United States District Court
and/or a state’s highest court: Michigan (see attached)                         , Bar Id: P78981        .
         2. I have never been disbarred, suspended, or received any discipline in any state or federal
courts, and no complaints or disciplinary matters are pending against me.
         3. I agree to submit to and comply with all provisions and requirements of the rules of conduct
applicable to lawyers admitted to practice law in the state courts of Iowa and comply with the Local
Rules.
         4. I agree to comply with the associate counsel requirements of LR 83(d)(3) and (4) by
associating with Greg H. Greubel                                         , an attorney admitted to practice law
in this district and who has entered an appearance in this case.
         5. I agree to pay the applicable required fee electronically.
         WHEREFORE, the undersigned counsel respectfully requests that this Court enter an Order
granting leave to appear pro hac vice for appearing in this case.
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                                                  Respectfully submitted,

Date: 05/02/2025                                  /s/ Conor T. Fitzpatrick
                                                  (Signature)
                                                   Conor T. Fitzpatrick
                                                  (Printed Name)
                                                   Foundation for Individual Rights and Expression (FIRE)
                                                  (Law Firm Name)
                                                   700 Pennsylvania Ave. SE, Ste. 340
                                                  (Law Firm Street address)
                                                   Washington, D.C. 20003
                                                  (City, State, Zip Code)
                                                  __________________________________________
                                                   (215) 717-3473
                                                  (Telephone number)
                                                   Conor.Fitzpatrick@thefire.org
                                                  (E-mail address)


    B. Local Counsel Information and Certification

        I, Greg H. Greubel                , an active member in good standing of the bar of the United
States District Court for the Southern District of Iowa, request that this court admit
Conor T. Fitzpatrick                       pro hac vice, an attorney admitted to practice and currently in
good standing in, Michigan (see attached)                  , but not admitted to the bar of this court, who will
be counsel for the Defendants J. Ann Selzer and Selzer & Company , in the case listed above. I am aware of my
obligations under the Local Rules of this court including requiring that I accept service of all documents.


Date: 05/02/2025                                  /s/ Greg H. Greubel
                                                  (Signature)
                                                   Greg H. Greubel
                                                  (Printed Name)
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Conor T. Fitzpatrick is admitted to practice and in good standing in the following
United States Courts and/or a state’s highest courts:

                   Federal Court Admissions                             Date Admitted
 U.S. District Court for the Western District of Michigan                 12/04/2014

 U.S. District Court for the Eastern District of Michigan                 12/09/2014

 U.S. District Court for the District of Columbia                         03/03/2025

 U.S. Court of Appeals for the Fifth Circuit                              10/03/2018

 U.S. Court of Appeals for the Sixth Circuit                              12/23/2014

 U.S. Court of Appeals for the District of Columbia Circuit               03/12/2025

 Supreme Court of the United States                                       08/23/2019


         Bar Admissions               Bar/Registration Number           Date Admitted
 State Bar of Michigan                              P78981                11/26/2014

 District of Columbia Bar                      90015616                   10/02/2023
